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              UNITED STATES DISTRICT COURT
       NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VANESSA WEREKO, in her individual capacity           )
   Plaintiff,                                        )
                           vs.                       )
                                                     )
HON. LORI ROSEN, Associate Judge in Cook County,     )
                                                     )
HON. DAVID E. HARACZ, Associate Judge in Cook        )   Case No. 1:22-cv-02177
County,                                              )
                                                     )
HON. RAUL VEGA, Retired Judge in Cook County,        )   Judge: ALONSO
                                                     )
HON. MARY S. TREW, Associate Judge in Cook County )      Magistrate: COLE
                                                     )
HON. GRACE G. DICKLER, Judge in Cook County,         )
                                                     )   Demand for Jury Trial
KATHLEEN P. LIPINSKI, Licensed Court Reporter,       )
                                                     )
HON. JOSEPH V. SALVI, Associate Judge in Lake        )
County,                                              )
                                                     )
HON. TERRENCE J. LAVIN, Appointed Justice in the     )
Appellate Court of Illinois,                         )
                                                     )
HON. MARY ELLEN COGHLAN, Appointed Justice in )
the Appellate Court of Illinois,
                                                     )
                                                     )
HON. AURELIA MARIE PUCINSKI, Elected Justice in
                                                     )
the Appellate Court of Illinois,
                                                     )
                                                     )
SARAH E. INGERSOLL, Assistant Attorney General,
                                                     )
                                                     )
THERESA A. EAGLESON, Director of the Illinois
Department of Healthcare and Family Services,        )
                                                     )
RICHARD FALEN, Supervisor of Appeals, Illinois       )
Department of Healthcare and Family Services,        )
                                                     )
EMILY YU, Director of Health Information Management, )
NorthShore University HealthSystem,                  )

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PETER HANNIGAN, Superintendent of Hawthorn           )
School District #73,                                 )
                                                     )
PEDRO MARTINEZ, Superintendent of Chicago Public     )   Case No. 1:22-cv-2177
Schools,                                             )
                                                     )
RUSSELL CASKEY, Assistant State Attorney,            )   Judge: ALONSO
                                                     )
ROBERT CASELLI, Officer, Vernon Hills Police Dept.   )   Magistrate: COLE
                                                     )
ADAM BOYD, Officer, Vernon Hills Police Dept.        )
                                                     )   Demand for Jury Trial
TANIA DIMITROVA, Attorney,                           )
                                                     )
BRADLEY R. TROWBRIDGE, Attorney                      )
                                                     )
SAFE TRAVELS CHICAGO, LLC, Supervision Service       )
                                                     )
MAXINE WEISS-KUNZ, Attorney,                         )
                                                     )
STEWART J. AUSLANDER, Attorney,                      )
                                                     )
KAREN A. ALTMAN, Attorney,                           )
                                                     )
GARY SCHLESINGER, Attorney,                          )
                                                     )
SHAWN D. BERSSON, Attorney,                          )
                                                     )
TIFFANY MARIE HUGHES, Attorney,                      )
                                                     )
RUSSELL M. REID, Attorney,                           )
                                                     )
CANDACE L. MEYERS, Attorney,                         )
                                                     )
MICHAEL P. DOMAN, Attorney,                          )
                                                     )
STACEY E. PLATT, Attorney,                           )
                                                     )
ELIZABETH ULLMAN, Attorney,                          )
                                                     )
ANDREA D. RICE, Attorney,                            )
     Defendants.
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  PLAINTIFF’S RESPONSE TO DEFENDANT PETER HANNIGAN’S
 MOTION FOR A STAY OF DEADLINE FOR RESPONSIVE PLEADINGS
                TO PLAINTIFF’S COMPLAINT

       NOW COMES the Plaintiff VANESSA WEREKO (hereinafter “Vanessa”) pursuant to

Rule 27(3)(a) of the Federal Rules of Civil Procedure and moves this Court to dismiss the May

13, 2022 filing of “Defendant Peter Hannigan’s Motion for a Stay of Deadline for Responsive

Pleadings to Plaintiff’s Complaint” (ECF 20) in opposition to the same as prejudicial to Vanessa.

This motion in opposition is based on the following grounds:

       1. On May 11, 2022, Vanessa filed a Motion to Vacate the March 9, 2022 sua sponte

           order of this Court.

       2. All parties of record were electronically served Vanessa’s May 11, 2022 Motion to

           Vacate with a service of motion filed on the same day with presentment set for May

           25, 2022 at 9:30AM CST before this Court.

       3. Two (2) days after Vanessa’s Motion to Vacate is filed, noticed and served, Defendant

           Peter Hannigan files to a “Motion For A Stay of Deadline for Responsive Pleadings To

           Plaintiff’s Complaint” (ECF 20) to stay the deadline of twenty-one (21) days to respond

           to Vanessa’s federal complaint, relying on the same May 9, 2022 sua sponte order of

           this Court and informs “no party will be prejudiced by granting this motion.” (ECF 20

           ¶ 5)

       4. Vanessa, as plaintiff, will be prejudiced by this Court granting Defendant Peter

           Hannigan’s Motion to Stay whiles her motion to vacate the sua sponte May 9, 2022 is

           pending, inter alia argued as prejudicial and hazardous to her due process rights, with

           a follow-on motion by Defendant Peter Hannigan, seeking to capitalize on the same to



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           extend or toll well-established deadlines afforded to all served federal complaints by

           asserting a reliance on this Court’s sua sponte order on May 9, 2022.



       WHEREFORE, VANESSA WEREKO prays that the May 13, 2022 filed “Defendant

Peter Hannigan’s Motion For A Stay of Deadline for Responsive Pleadings to Plaintiff’s

Complaint” be dismissed as prejudicial to Vanessa’s pending federal complaint and pleading(s)

before this Court including her May 11, 2022 filed Motion to Vacate the May 9, 2022 sua sponte

order of this Court.


Dated: May 13, 2022                                 RESPECTFULLY SUBMITED:



                                                    /s/ Vanessa Wereko
                                                    VANESSA WEREKO
                                                    675 Lakeview Pkwy #5035
                                                    Vernon Hills, IL 60061
                                                    Main No.: 847-637-7142
                                                    Email: werekovb@me.com




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                               CERTIFICATE OF SERVICE
The undersigned certifies pursuant to 28 U.S.C. §1746 that she filed “Plaintiff’s Response to
Defendant Peter Hannigan’s Motion for a Stay of Deadline for Responsive Pleadings to
Plaintiff’s Complaint” pursuant to Rule 27(3)(a) of the Federal Rules of Civil Procedure using
the Clerk of Court’s Electronic Case Filing system on May 13, 2022 which provides notification
of same to the above-referenced parties of record when there has been an appearance filed.




                                                   /s/ Vanessa Wereko
                                                   VANESSA WEREKO
                                                   675 Lakeview Pkwy #5035
                                                   Vernon Hills, IL 60061
                                                   Main No.: 847-637-7142
                                                   Email: werekovb@me.com




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